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EXHIBIT A
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
IN RE:

Case No. CO2-1240 CW (and related cases
C02-2529, C02-4646, C02-4867, COZ-5320
and CQ3-0368)

CLASS ACTION

HOUSEHOLD LENDING LITIGATION

DECLARATION OF DR. MICHAEL A.
STEGMAN CONCERNING VALUE OF
SETTLEMENT TO CLASS MEMBERS

Nagel Net Mart! Site” Scns” ant” range Sree

I, Michael A. Stegman, declare:
1. L hold the Duncan MacRae’09 and Rebecca Kyle MacRae Professor of Public Policy,
Planning, and Business Chair at the University of North Carolina at Chapel Hill, where | also serve

as Chairman of the Department of Public Policy, and Director of the Center for Community

DECLARATION OF MICHAEL STEGMAN Case No. 0-02-1240 CW

CONCERNING VALUE OF SETTLEMENT TO CLASS MEMBERS (atid related cases)
REDACTED AS CONFIDENTIAL AT DEFENSE COUNSEL'S REQUEST
OVER THE STRENUOUS OBJECTIONS OF CLASS COUNSEL

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jappointment to be Assistant Secretary for Policy Development and Research (PD&R) at the U.S.

Capitalism in the Kenan-Flagler Business School, Frank Hawkins Kenan Institute of Private

Enterprise. In 1993, President Bill Clinton nominated me, and the U.S. Senate confirmed my

Department of Housing and Urban Development, a position | held until June 30, 1997. During my
term, | also served as Acting Chief of Staff at HUD from November 1996 through April 1997,

2. lam an elected Fellow of the Urban Land Institute, a past member of Freddie Mao's
Affordable Housing Advisory Council, and serve on the boards of the Initiative for a Competitive
Inner City directed by Harvard Business School Professor Michael Porter, One Economy
Corporation, a non-profit dedicated to the elimination of the digital divide; and the advisory
committee of The Brooking Institution’s Center on Urban and Metropolitan Policy. I have served
as a consultant to HUD, the U.S. Treasury Department, the Community Development Financial
Institutions Fund (CDFD, the U.S. General Accounting Office, and Lehman Brothers, and am
currently a consultant to the Fannie Mae Foundation.

3. i have also written extensively, and published on a wide range of housing and
community development and financial services issues. My most recent books include Savings and
the Poor: The Hidden Benefits of Electronic Banking, (Brookings Institution Press, 1999, State and
Local Affordable Housing Programs: A Rich Tapestry (The Urban Land Instinite, 1999). Among
other papers of mine to be published over the next several months is one whose working title is The
impacts of Nerth Carolina’s Predatory Lending Law (forthcoming in the Journal, Housing Policy
Debate, published by the Fannie Mae Foundation).

4. My curriculum vita is atlached to this declaration as Exhibit 1.

5. [ have reviewed the settlement agreement and data concerning the benefits of the
settlement in the form of sworn declarations by various employees of Household. [ understand that
some of the data | have reviewed has been designated as confidential by Household. Due to these
confidentiality designations, where indicated, I have supplied additional information to Plaintiffs’
counsel about my calculations in the form of a separate document that Plaintiffs’ counsel may

take available if so required by the Court.

DECLARATION OF MICHAEL A. STEGMLAN Case No. 0-02-1240 Cw
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6. My general opinion, given my background on policy issues related to housing, including
the risks and consequences of sub-prime lending, is that the settlement benefits to the class are of
very substantial value. The settlement greatly reduces the risk of foreclosures by Household on
class members and provides an opportunity for those who are able to pay on time to reduce the
costs of their loans. In addition, there are other quantifiable and nonquantifiable benefits of the
settlement to class members including cash benefits, the right to cancel expensive credit insurance
products, and valuable practice changes as discussed more fully below.

7, I value the economic benefits of the settlement as follows:

Cash Payments ~ Loans Originated on or after January 1, 1998 and before January 1, 1999

8. Based on data supplied by Household and the setilement administrator, there are 27,811
class members eligible for $750 payments because their loans were originated or processed in
Califomia, Massachusetts or Washington on or after January 1, 1998 and before January 1, 1999.

9, [fall such class members filed claims, the value of this benefit is $20,858,250.

10. Based on information available to me, [ estimate that 50% of the class members eligible
for this benefit will file a claim. To reach this estimate, I assume first that a small portion of the
eligible group refinanced their loans with Household during the class period for the settlement
between the state Attorneys General and Household (the “AG settlement”) and then accepted
benefits from their state Attorney General. By accepting benefit from the AG settlement, those
class members released their claims and are not eligible for this benefit in the settlement under
review here. [ assume as well that not every class member will file a claim. Since the accounts
involved are more than five years old, [ assume that some of the eligible borrowers will no longer
be living at the mailing address in Household’s records and so will not receive claims forms. I also
assume that some borrowers will neglect to file claims or will choose not to file. Finally, I
understand that a small number of class members have opted out and therefore cannot take benefits
under the settlement. On the other hand, [ note that more than 80% of Houschold customers
eligible for cash benefits under the AG settlement accepted such benefits. I thus consider a 50%

claims rate to be a conservative estimate.

DECLARATION OF MICHAEL A. STEGMAN Case No, 0-02-1240 CW
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1 11. Applying an estimated 50% claims rate to this benefit, its presumptive value to class
2 ||members is $10,429,125.
3 12, Based on data supplied by Household and the settlement administrator, there are 24,146
4 |) class members eligible for $500 payments because their loans were originated or processed in
5 || Pennsylvania, New Jersey, Minnesota, Maine or Michigan on or after January 1, 1998 and before
G6 li January 1, 1999,
13. [fall such class members filed claims, the value of this benefit is $12,073,000.
8 14. Applying an estimated 50% claims rate to this benefit, its presumptive value to class
9 timembers is $6,036,500.
19 15. ‘The total potential value of cash payments to class members whose loans were
11 | originated or processed in 1998 is $32,931,250. The likely actual value of the benefit to class

12 [imembers is $16,465,625.

13

M4 Cash Paymenis — Former Borrowers Whose Loans Were Originated or Processed On or After
January 1, 1999 and On or Before December 24, 2003.

1S 16. Based on data supplied by Household and the settlement administrator, there are

16 || 449,441 class members eligible for $500 payments because their loans were originated or

17 processed on or after January 1, 1999 and on or before December 24, 2003 and such loans were

18 repaid or otherwise terminated or before December 24, 2003. Based on data supplied by

19 || Household and the settlement administrator, approximately 69% of such class members are

20 || rendered ineligible for this benefit because they released their claims in the AG Settlement. This

<1 |i means that approximately 139,327 class members are eligible to claim this benefit.

22 17. Most of the group of class members who are eligible for this benefit were not eligible

23 || for benefits in the AG settlement and therefore had no opportunity to make claims under that

24 || settlement, This is because their loans were generated outside the class period for the AG

25 | settlement.

26 18. If all eligible class members filed claims, the value of this benefit to this group of

“7? || class members is $69,663 590.

28

DECLARATION OF MICHAEL A. STEGMAN Case No. C-02-1240 CW

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“1$115,060,105. Based on conservative assumptions concerning the likely claims rate, the estimated

4\| Foreclosure Avoidance Program (“FAP”)

19. Again, [ assume that the best estimate of the number of eligible class members who
will file claims is about 50%, Because the claims rate for benefits in the AG settlement was 81%, |
eonsider this a conservative estimate.

20. Applying an estimated 50% claims rate to this benefit for this group, its presumptive

value to class members is $34,831,750,

Cash Payments - Borrowers Whose Loans Were Processed But Not Originated On or After
January I, 1999 and On or Before December 24, 2003.

21. Based on data supplied by Household and the settlement administrator, there are 24,931
class members eligible for $500 payments because their loans were processed bul not originated on
or after January 1, 1999 and on or before December 24, 2003.

22. Ifall such class members filed claims, the value of this benefit would be $12,465,500.

23. For the reasons discussed in paragraph 10--with the modification that there is reasan to
believe that the more recent vintage of these loans suggest that fewer mailing addresses will be
incorrect --and because these class members were not eligible for a benefit under the AG
settlement, I estimate that 60% of class members eligible for this benefit will file a claim. Applying

an estimated 60% claims rate to this benefit, its presumptive value to class members is $7,479,300,

Summary of Value of Cash Benefits

24. The total potential value of cash benefits to class members under the settlement is

real value of the cash benefits under the settlement is $58,776,675.

25. | have reviewed the provisions of the Foreclosure Avoidance Program ("FAP")
negotiated by the parties. All class members are eligible for this benefit.
26. In my opinion, the FAP benefits all class members in a substantial way. The FAP is

available to all class members in the event that they have financial problems. The program

therefore acts as a safety net to protect class members from the loss of their residences to
-$-
. DECLARATION OF MICHAEL A. STEGMAN Cee Mo, C-02-1240 CW

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26

foreclosure, The FAP is, in effect, an insurance policy to protect against the most potentially
catastrophic consequence of a sub-prime home mortgage.

27, The value of the FAP to class member exceeds the obviously quantifiable $72,000,000
in interest (and late payment penalty) forgiveness that is its key element. The formula for counting
relief against the $72,060,000 cap for the FAP therefore understates the benefits of the FAP benefit
to class members.

28. The value of future interest payments to be waived for class members is accurately
calculated and easily calculable based on the formula negotiated by the parties.

29. The value of retroactive late payment penalties to be waived for class members is also
accurately calculated and easily calculable based on the formula negotiated by the parties.

30. In connection with permanent interest rate reductions made on modified loans, the
parties have chosen to use Houschold’s cost of funds in evaluating how much to charge to the FAP.
THis significantly understates the benefit to class members associated with such rate reductions,
because the cost to the class member of interest payments, absent forgiveness, would virtually
always be greater than the interest due at Household’s cost of funds. This is because there is
significant spread between the rate at which Household can borrow and the rate at which it can
lend.

31. Based on data supplied by Household, it is my understanding that Household granted
2,866 applications for FAP relief between October 1, 2003 and February 29, 2004 (a five moath
period) and provided 314,367,917 in benefits under the FAP formula.

32. To date, the accepted applications have resulted in an average of $5,013.23 in avoided
interest and late charges. This rate at which finds are being spent leaves little doubt that the entire
amount of available FAP relief will be provided to class members over a five year period.

33. If Lassurme that granted applications will continue to yield the same amount of benefits
over the course of the program, [ can estimate that [4,362 applications for FAP benefits will
ultimately be granted before the $72,000,000 in program funds are exhausted.

34, in addition to the $72,000,000 countable under the FAP formula, there is another
significant quantifiable benefit of the FAP to class members that is not Inctuded in the formula,

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DECLARATION OF MICHAEL Al SPOS Cane No. C-02-1240 CW

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D | Cutts, [Innovative Servicing Technology: Smart Enough to Sustain Homeownership Gains?, paper

|| prepared for presentation at the American Real Estate and Urban Economics Association Meetings,

| Bank of Chicago Conference on sustainable Community Development, March 27, 2003].
{| Although the benefits of this preservation of home equity cannot be accurately quantified, it adds

é H sionificant value to class members.

35. When a FAP applicant qualifies for prospective temporary interest rate forgiveness,
Household is also required to defer the entire amount of any interest arrears and accumulated late
fees until the end of the term of the loan. There is a “time value of money” benefit to class
members associated with the right to defer substantial overdue interest. Dy agreement of the
parties, this “tire value of money” Is not counted toward the $72,000,000 in benefits available
under the FAP.

36, Household has provided a confidential study of its delinquent accounts, and from this
study, | calculate that the average benefit of interest deferrals and late payment fees based on the
time value of money, measured conservatively, is $1,394.79 per delinquent account.

37, Based on an assumption that $72,000,000 in FAP relief will include interest deferral for
approximately 14,362 class members, the total additional benefit based on the “time value of
money” is $20,031,974,

38. The quantifiable benefit of the FAP is thus $72,000,000 plus $20,031,974, for a total of
$92,031,974,

39, {n addition there are several non-quantifiable economic benefits to class members
associated with the FAP.

40. Most foreclosures result in significant lost equity to the homeowner involved, This is
because of attorney’s fees and other costs associated with foreclosure and because foreclosure sales

rarely bring full market value for the property involved. (See, for example, L. Cordell, and A.C,

Washington, DC, January 4, 2003; C. A. Capone, Jr., and A. Metz, Mortgage Default and Default

Resolutions: Their Impact on Communities, paper prepared for presentation at the Federal Reserve

41, There are also emotional and other non-economic benefits to avoiding foreclosure.
Falling behind in mortgage payments, knowing that accumulated interest arrears and late fees are

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DECLARATION GE-MICHASD #0 STROMAN Case Mo, C-02- 1240 OW

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accumulating to the point that default may result in the loss of one’s home, either through
foreclosure or other means, exacts an enormous emotional and financial toll on the homeowner
{See, for example, Michael Moss and Andrew Jacobs, Blue Skies and Green Yards, All Lost in Red
Ink, New York Times, April 11, 2004, and the follow-on article, Andrew Jacobs, Trying to Hang On
in the Poconos, From Before Dawn to Way Past Dusk, New York Times, April 12, 2004].

42. Additionally, the FAP provides a “short sale” alternative to class members who do not
qualify for interest rate reductions or other relief. A short sale is a sale, controlled by the
homeowner, under which the owner maximizes the sale price of the property. In exchange
Household will forgive any deficiency if the sale price does not make Household whole. Again,

this benefit cannot be accurately quantified, but it adds significant value to class members.

Fresh Start Program

43. The settlement includes a $3,000,000 “Fresh Start” loan pool available to borrowers
who lost their homes to foreclosure. This loan poo! will allow foreclosed borrowers to obtain finds
io purchase new homes on favorable credit terms. Credit history related to Household’s
foreclosure will not be considered.

44. | am told that the interest rate governing loans in the program will be 6.5%. One
difficulty of quantifying this benefit is that many of the eligible class members would not otherwise
be able to qualify for a home purchase loan on any terms. This program will be their only
opportunity, in the near term, to buy a new home. Another difficulty is that | have no basis to
calculate how many individuals who have suffered recent foreclosures are m an economic position
to buy a new home even at favorable rates.

45. However, by way of example, I will assume that a borrower who receives an $80,000

loan to buy a new home from the fresh start loan pool at 6.5% annually over thirty years would

/otherwise have been restricted to a sub-prime loan at 10% annually for the same funds.

46, Monthly payments on the fresh start loan would be $505.65. Monthly payments on the

alternative subprime loan would be $702.05, producing a monthly saving to the class member of

45196.40. Over 360 months, the undiscounted monthly interest savings associated with the fresh

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‘DECLARATION OF MICHAEL A. STEGMAN Case No. C-02-1240 OW
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‘Settlement, because I do not have sufficient information to calculate or estimate the number of

lHindividuals who will have made 12 consecutive timely payments previous to the effective date of

start loan would be $70,704.00. Considering both the time value of money, and a ten year average
morigage life, the discounted present value of the interest savings would be around $16,188 per
class member.

47, Though [ consider this program a substantial benefit, | have not included the potential

interest rate savings in quantifying the economic benefit of the settlement.

Good Payment Interest Rate Reductions

48. The settlement includes a provision under which class members will be eligible for
cash payments or a reduction in interest rate if they make 12 consecutive timely payments. For the
purposes of the program, “timely” is defined as within 30 days of the due date.

49, Borrowers will be eligible for a $500 cash payment if their loans are in the bottom 50%
of class members’ accounts sorted by annual percentage rate and if they have made 12 consecutive
on-time payments as of the effective date of settlement. A borrower must make a claim for this
benefit,

50. I have not included this benefit of the settlement in my calculation of the value of the
settlement, because [ do not have sufficient information to calculate or estimate the number of
individuals who will have made 12 consecutive timely payments previous to the effective date of
the settlement.

51. Borrowers will be eligible for irrevocable interest rate reductions of 25% if their loans
are in the top 50% of class members’ accounts sorted by annual percentage rate and if they have
made 12 consecutive on-time payments as of the effective date of the settlement. Eligible
borrowers will then be entitled to an additional irrevocable .25% interest rate reduction for each
future period of 12 consecutive on-time payments up to a maximum of 12 such reductions (3%).
No claim is required for this benefit.

52. | have not included this benefit of the settlement in my calculation of the valuc of the

DECLARATION GP-MICHAEL A. STECGMAN Case No, C42. 1240 CW
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1 || the settlement. | also am not able to calculate or estimate the likelihood of future periods of on-

2 || time payments.

3 33, [consider the potential benefit of the interest rate reductions to be substantial on an.

4 | individual basis. For example a borrower with a $40,000 loan amortized over 120 months at an

5 |linterest rate of 13% will save $7.90 per month on their loan by lowering the rate to 12.75%. (I note
G |: that a 13% interest rate loan is consistent with loans in the top half of Household’s portfolio sorted
by APR.) Over the life of the loan, savings could be as much as $853.20, or $651.15, on a present
% |i value basis, using Household’s 8 percent cost of capital. (Actual savings will depend on the

9 | remaining term when the benefit is implemented.) If the rate is lowered to 10% by additional

10 il periods of 12 consecutive on-time payments, monthly payments will be more than $120 less than
I} || the original contract payments, and the savings to the class member, taking account of the time

12 || value of money, would be almost $10,000 over the 120 months of the loan.

14. 1) Credit Insurance Cancellation

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>

| ‘class members are eligible to cancel a credit insurance policy in force and to

16 || receive a rebate of any unearned premium.

l7 55. Single premium credit insurance has been a longstanding problem in the sub-prime

18 || lending market and is considered to be a very poor bargain for the customer. [See, for exampie,

19 || Jodie Bernstein, Home Equity Lending Abuses in the Subprime Mortgage Industry, prepared

20 |) statement of the Federal Trade Commission before the Senate Special Committee on Aging, March
Zi 1116, 1998.], Indeed, under pressure from the lawsuits and the state Attorneys General, Household
22 || agreed to terminate sale of its single premium credit msurance product during 2001.

23 56. The value of this benefit to class members is difficult to calculate. It is difficult to

24 || determine how many class members will cancel. It is also difficult to determine the actual value of
25 |) the policies at issue in order to offset such amounts against the benefit associated with the refund of
26 |) unearned premiums.

57, | conclude that the opportunity to cancel credit insurance policies is an additional

§ || benefit of the settlement to class members that is not readily quantifiable.

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DECLARATION OF MICHAEL A. STEGMAN Case No. C-02-1240 CW

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7 }\ prepayment penalties that would be attributed to class members’ accounts.

APDECLARATION OF MICHAEL A. STEGMAN Case No, C-82-1249 CW

Reduction in Maximum Prepayment Penalty Tari to Two Years

58. In the settlement, Household agreed to reduce the maximum prepayment penalty period
for its loans to two years. All class members with prepayment penalty terms of more than two
years are eligible to benefit from this practice change.

39. [understand that this is a practice change that was also included in Household’s

settlement with various state Attorneys General.

60, In 2001, Household collected ! i | ein prepayment penalties imposed
more than 24 months after the date of the loan on which the prepayment penalty was charged.

61. Averaging these aggregate prepayment penalties across all open loans in 2001,
produces revenue of $154.85 per loan. Had Household not ended the practice of charging such
penalties, this figure can be used to approximate the total value to class members in 2004 and 2005,
of this practice change.

62, If Household had the same number of open loans in 2004 and 2005, as it did in 2001,
and the same percentage of open loans were to have extended prepayment penalties, [ would expect
Household to collect approximately the same amount in aggregate prepayment penalties for loans
whose penalties extend more than 24 months as was collected in 2001. However, because the
number of open loans in Household’s portfolio changes from year to year, I used confidential
information about the size of Household’s loan portfolio over time to estimate the likely number of
open loans in 2004 and 2005, [ estimate that Household would have collected about $33,521,618
in 2004, and a like amount in 2005 in extended prepayment penalties, which totals $67,043,237 for
the twe years.

63. Although there are likcly to be additional avoided prepayment penalties for class
members in years subsequent to 2005, | am not including those benefits in my estimate of

settlement benefits to the class because | cannot calculate the percentage of such avoided

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1 64. [ thus consider $67,043,237 to be a conservative estimate of the benefit of this practice
2 | change to class members, Plaintiffs counsel has asked me not to include this amount in my
3 j/ calculation of the benefits of the settlement, because they consider these avoided prepayment
4 | penalties to have been jointly achieved with the state Attorneys General.
3 4
6 Elimination ef Points and Fees Upon Refinancing Of Loans If the Interest Rate is Not Reduced iy
At Least One Half of Que Percent.
7 65. In the settlement, Household agreed to eliminate all points and fees upon refinancing its
§ |) loans for existing customers if the interest rate in the refinanced loan is not reduced by at least one
9) half of one percent, except to the extent of any new money advanced. This is a change to
10 || Household’s former practices. All class members are eligible to benefit from this practice change
ty if they refinance.
12 66. | understand that, on a historical basis, between | | percent of Household’s
13 existing customers refinance and obtain another Household loan.
14 67. [have not attempted to quantify this benefit because its value will depend on whether
13 jl interest rates on sub-prime consumer mortgage loans trend up or down. If interest rates trend
16 || upwards, as is likely, this will be a substantial benefit to class members who refinance.
\7
18 || Other Practice Changes
1S 68. There are other practice changes in the settlement that have potential economic value to
26 ‘class members. These include:
21
32 | a, Limiting the loan-to-value ratios on all loans to 105.2%. This will help prevent
23 borrowers from being locked into high rate loans that they cannot refinance due to a
24 | negative equity position. It may also help prevent very high interest rate mortgage
2s loans justified by inadequate security.
26
27
28
-12-
DECLARATION OF MICHAEL A. STEGMAN Case No, C-02-1240 CW

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Veorrowers, Ina few cases, such as the protection against refinancing subsidized (below market)
jJoans, the practice change only benefits class members if they choose to refinance or otherwise

‘obtain a new or additional Household loan.

b, Elimination of the use of “live checks” as a solicitation lead for secured loans. This
will help prevent mortgage loans grounded in refinance of very high rate unsecured
loans.

c. Protections against refinancing subsidized (below-market) loans. This will help
protect borrowers who are able to borrow money at a low-rate from being forced to
repay it at a higher rate as a condition of qualification for a sub-prime loan.

d, Provisions barring sale of debt cancellation or debt suspension products. These are

very costly products that are economically disadvantageous to consumers.

o%

Elimination of compensation to sales employees for the sale of credit insurance.
This will climinate economic incentives for employees to aggressively sell products
of limited benefit to consumers.

{. Reporting of positive payment histories to credit reporting agencies; agreement not
to dispute borrowers’ separate statements regarding the reasons for delinquencies,
reporting of borrowers in the FAP program as current on their accounts. These

changes will allow some Household borrowers to repair their credit, lower their

credit scores and thereby qualify for lower rate loans.

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Clarification of billing statements, Required clarifications will help borrowers
avoid a potential negative consequence of calculating interest on a “monthly simple
interest” basis — that is the possibility that additional interest will accrue on a daily

basis if payments are not received by their due date.

69. These practice changes will benefit both class members and future Household

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70, For various reasons, | cannot quantify the economic benefit of these changes to class

2 |;members and have not included any value for these benefits in my valuation of the settlement.

4 | ACORN's Financial Literacy Program

5 71. Lhave reviewed the business plan for ACORN’s Financial Literacy Program.

G 1 That program appears to include substantial elements designed to benefit class members
exclusively. These include targeted assistance to class members to help them qualify for the FAP
& ||as well as efforts to help class members obtain other benefits from this settlement and the AG

@ | settlement. None of the programs involved are limited to ACORN’s members.

10 72. The balance of the program relief is aimed at persons similarly situated to class

1} }| members m order to help them avoid the pitfalls of sub-prime mortgage lending. This includes
12 || financial literacy training, one-on-one counseling, and direct advocacy with Household on behalf of
12 |}clients to help those clients qualify for the best loan available. I consider these programs in the

14 || nature of cy pres relief ~ directed generally at that segment of the population who are most

15 || vulnerable to conduct similar to that charged in the cases consolidated here.

16 | 73. Because it is not clear how much of ACORN’s literacy program will benefit class

17 1 members, [ have not included this benefit in my calculation of the overall value of the settlement.

if 4 Summary: Total Economic Benefit of the Seitiement

20 + 74. Excluding the benefit to class members of quantifiable practice changes, my

21 |i caleulation of the total economic value of this settlement to class members is $150,808,649. This
2 || includes only benefits described in paragraphs 24 and 38 above.

23 75, There are other substantial non-quantifiable benefits of this settlement, as discussed
24 |labove, that [ have not included in this calculation. Many of these benefits, such as the provision for
25 || Good Payment Rewards and for the cancellation of credit insurance have obvious economic value

26 |) that cannot readily be quantified.

~1d-
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I declare under penalty of perjury under the laws of the United States of America
that this docusiont ig tens and correct and that it was executed on April 18, 2004, at

P DECLARATION OF MICHAEL A. STEGMAN CONCERNING

PV ALUE OF SETTLEMENT TO CLASS MEMBERS

Michael AA
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